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     United States District Court - Newark
                                                                                                                    Please reply to New Jersey
     Martin Luther King Jr. Federal Building & U.S. Courthouse
     50 Walnut Street, Courtroom MLK 4C
     Newark, NJ 07101

     RE:     CIOFFI, MICHAEL VS. BOROUGH OF ENGLEWOOD CLIFFS, ET AL.
             Our File No.   : 85341 ELH
             Docket No.     : 2:16-CV-04536-ES-MAH

     Dear Judge Hammer:

     We represent Defendant Carrol McMorrow in this matter. In furtherance of Mr. Tripodi’s
     letter of today (document #71), we write to request a call or in person conference to address
     a discovery dispute regarding audio recordings produced by Plaintiff in this matter.

     Enclosed please find previous correspondence relevant to this particular issue and outlining
     the history of our efforts to resolve it. Simply put, there is no basis to designate the audios
     as “Attorneys’ Eyes Only” or “Confidential” and it is Plaintiff’s burden to prove otherwise.
     At this juncture, it would be inequitable to prohibit Ms. McMorrow from reviewing the
     audios and would be an undue burden to require her to review them at our office.

     The Court was to hold a status conference on March 27, 2018; however, in light of the
     change of assignment to Your Honor that status conference was canceled. Therefore, we
     request that the Court reschedule the status conference so that we can address this issue.

     In addition to the issues raised in Mr. Tripodi’s letter and the enclosed correspondence,
     there is a separate discovery issue related to 12 of the audios produced by Plaintiff. Mr.
     Carmagnola, on behalf of the Borough, claimed that 12 of those audios were subject to the
     attorney-client privilege, that those audios could not be used in this litigation, and that all
     parties were to cease from reviewing the audios and should delete them. Because we
     believe that our client may have been present when those audios were recorded, that the
     audios could refer to her, and because she is the Council President and entitled to hear the
     audios, we wrote to Mr. Carmagnola to express our opinion that our client should be
     permitted to review those audios regardless of whether there was a privilege being asserted
     pertaining to this litigation.

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  Methfessel & Werbel, Esqs.
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  While we could not fully resolve the issue, Mr. Carmagnola has permitted our office to
  review those audios on an “Attorneys’ Eyes Only” basis, which our office is in the process
  of doing. However, to the extent our client was either present or discussed on those audios
  and because she is the Council President – “the client” – she should be permitted to review
  those audios independent of whether they are deemed privileged for purposes of this
  litigation. This is especially true because obviously Plaintiff, who made the audios, has
  had opportunity to review them placing our client on an uneven playing field.

  Lastly, we are still awaiting Plaintiff’s Certifications for the discovery responses he
  previously served and which we have requested on numerous occasions.

  Based on the foregoing, we request a phone conference with the Court to resolve these
  issues. We thank Your Honor for your attention to this matter.

                                               Respectfully submitted,
                                               METHFESSEL & WERBEL, ESQS.


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  ELH:as/at
  Enclosures: Previous Relevant Correspondences

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